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                         7
                         8                           UNITED STATES DISTRICT COURT
                         9                         CENTRAL DISTRICT OF CALIFORNIA
                      10
                      11       TRIM-LOK, INC., a California               Case No. SA CV 13-1141 JAK
                               corporation,                               (JEMx)
                      12
                                            Plaintiff,                    LIFETIME INDUSTRIES, INC.’S
                      13                                                  NOTICE OF MOTION AND
                                     vs.                                  MOTION TO DISMISS OR
                      14                                                  TRANSFER
                               LIFETIME INDUSTRIES, INC., a
                      15       Minnesota corporation,                     DATE: October 28, 2013
                                                                          TIME: 8:30 a.m.
                      16                    Defendant.                    CTRM: 750
                      17                                                  Hon. John A. Kronstadt
                                                                          Judge Presiding
                      18
                      19
                      20       TO ALL PARTIES:
                      21             PLEASE TAKE NOTICE that on October 28, 2013 at 8:30 a.m., or as
                      22       soon thereafter as this matter may be heard, in Courtroom 750 of the Roybal
                      23       Federal Courthouse located at 255 E. Temple Street, Los Angeles, California,
                      24       90012, Defendant Lifetime Industries, Inc. (“LTI”) will move the Court for an
                      25       order dismissing the Plaintiff Trim-Lok, Inc.’s declaratory judgment suit or in the
                      26       alternative for an order transferring the matter to the Northern District of Indiana.
                      27             Trim-Lok’s declaratory judgment suit, by its counsel’s own admission, is
                      28       anticipatory of a patent infringement suit by LTI. Where a declaratory judgment
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                         1     action is filed in anticipation of being sued elsewhere, the District Court should
                         2     decline to exercise its discretionary jurisdiction under the Federal Declaratory
                         3     Judgment Act, 28 U.S.C. § 2201(a), and should dismiss the declaratory judgment
                         4     action. Xoxide, Inc. v. Ford Motor Co., 448 F. Supp. 2d 1188 (C.D. Cal. 2006).
                         5     The case should therefore be dismissed under Rule 12(b)(1) of the Federal Rules
                         6     of Civil Procedure for lack of subject matter jurisdiction.
                         7              In the alternative, this anticipatory declaratory judgment action should be
                         8     transferred under 28 U.S.C § 1404(a) to the Northern District of Indiana where
                         9     LTI’s infringement action against Trim-Lok is pending and where key third party
                      10       witnesses, including the named inventors and patent prosecution attorneys, reside.
                      11                This motion is based on the Notice of Motion, the Memorandum of Points
                      12       and Authorities in Support of LTI’s Motion to Dismiss, the Declaration of
                      13       Michael Marston in Support of LTI’s Motion to Dismiss, the Declaration of Kurt
                      14       Wetzel in Support of LTI’s Motion to Dismiss, and the Declaration of G. Warren
                      15       Bleeker in Support of LTI’s Motion to Dismiss, filed concurrently with this
                      16       Notice, LTI’s Reply Brief and accompanying papers, the files and records of the
                      17       case, and such other arguments as may be offered at the time of the motion.
                      18                Pursuant to Local Rule 7-3, this motion is made following a conference of
                      19       counsel which took place on August 19, 20131.
                      20       DATED: August 21, 2013                  Respectfully submitted,
                      21                                               CHRISTIE, PARKER & HALE, LLP

                      22
                                                                       By /s/ G. Warren Bleeker
                      23                                                  G. Warren Bleeker
                                                                          Attorneys for Defendant
                      24                                                  LIFETIME INDUSTRIES, INC.
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                      26        The parties were unable to hold the conference prior to this date. Counsel for
                               Trim-Lok, Inc. was unavailable the week of August 12 and the parties agreed to
                      27       hold the conference on August 19 so as to not interfere with counsel for Trim-
                      28       Lok’s vacation.

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